                                                Case 1:24-cv-00648-AA                Document 13                     Filed 05/06/24                Page 1 of 3
                                                                                                                                    FILED'24 MAY 6 13:32USDC-0Ri1


                                                                              AFFIDAVIT OF SERVICE

                                                                   UNITED STATES DISTRICT COURT
                                                                           District of Oregon
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              ,.,~ ,,_.Jc;;,2 -~~•>:.<. v~•J·~ r::1 u·.·;~
        \    ,,J :;ciiiasi{Nuh,ti~r: 1:24-CV-00648-AA


                            Plaintiff:
                            ARNAUD PARIS
                            VS,

              ,, , Defendant:
                   HEIDI MARIE BROWN
            . '
            ·''             For:
                  ~     ('I_
            .. ; ,,.;,Received by ACP Investigations on the 6th day of May, 2024 at 12:51 pm to be served on HEIDI MARIE
               , ,,, •BROWlll,,9ENT VIA EMAIL, heidimparis@gmail.com,
              ,-, \01L·1-.;-/ -~·;;:,('.:;:};·.~-L'Ui.,;~
             -"' :,d~b,ffhlNVESTIGATIONS (JESSICA MORTON), being duly sworn, depose and say that on the 6th day of
                   May, 2024 at 1 :11 pm, I:

                       INDIVIDUALLY/PERSONALLY served by delivering a true copy of the SUMMONS, CIVIL COVER
                       SHEET , PETITION FOR RETURN OF CHILDREN UNDER THE HAGUE CONVENTION ON THE CIVIL
                      ASPECTS OF INTERNATIONAL CHILD ABDUCTION AND REQUEST FOR SHOW CAUSE ORDER
                       (pgs 1--14), EXHIBIT 1-JUDGMENT rendu le 21 avril 2023 (pgs 1-25), EXHIBIT 2- JUDGMENT
                       ISSUED AUGUST 25, 2023 (pgs 1- 7), EXHIBIT 3- EMAIL, EXHIBIT 4 - REQUEST FOR THE RETURN
                       OF ABDUCTED CHILDREN PURSUANT TO THE HAGUE CONVENTION OF 25 OCTOBER 1980 (pgs
             ;; ,-     1-6), OPINION AND ORDER (pgs 1-3) with the date and hour of service endorsed thereon by me, to:
                , ., HEIDI MARIE BROWN at the address of: SENT VIA EMAIL, heidimparis@gmail.com, and informed
              , _, ;·; said person of the contents therein, in compliance with state statutes,
                                 ;; !~~ UY•J f;'}, :~•.:-:
              ,', )-;~:,' ~\ :·,:..-_:}'.,'..:}•. :_;1...::..·
                      ,. :;,: f1,i~l4~_;:;',,_U~x.a:-~~•-·•·.
                               : certify that I am over the age of 18, have no interest in the above action, and am a Certified Process
                               Server, in good standing, in the judicial circuit in which the process was served, I declare under penalty of
                               perjury that the above statement is true and correct
                                                         OFFICIAL STAMP
                                                      SEAN THOMAS SOUZA
                               '                     NOTARY PUBLIC-OREGON
                                   •                COMMISSION NO. 1008618
                                   MY COMMISSION EXPIRES FEBRUARY 09, 2025                                    ACP INVESTIG
                               Subscribed and Sworn to before      n the 6th day                              Process Server
                                                  ffiant wh ,s personally known
                                                                                                              ACP Investigations
                                                                                                              P.O. Box 1624
                                                                                                              1616 W. Main Street
                                                                                                              Medford, OR 97501
                                                                                                              (541) 772-3107

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                               Case 1:24-cv-00648-AA           Document 13     Filed 05/06/24      Page 2 of 3


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3        : ;~:,            ___. ~:.        CER~ IFICA TE OF SERV ICE
4                      q,ereby certify that I served the foregoing Proof of Service and Affidavit from ACP Investigations
         , ::-··,\i'.-7:bh:the·following party:         '
5
                                                                Heidi Marie Brown
6                                                                2256 Abbott Ave
                                                                Ashland, OR 97520
7:/                                                           heidimparis@gmail.com
                                                                Respondent, Pro Se

                    By the following method or methods:
9
;j
         i !'. i:
         • i, __ bi/mailing full, true, and correct copies thereof in sealed, first class postage
JO                priiP,,!~}J:Le,ny~lopes, addressed io the attorneys(s) as shown above, the last known office address of
             . _. the,af(or,/i~y'(s)', and deposited With the United States Postal Service at Portland, Oregon on the date
11           • •• set'fcirth below.                  I
12                   X   by emailing full, true, and correct copies thereof to the pro se party at the email address
                     shown above, which is the last known email address for the respondent on the date set forth below.
13
                          by faxing full, true, and correct copies thereof to the attorney(s) at the fax number{s)
14
"·                   shown above, which is the last known fax number for the attorney(s) office, on the date set forth
                     below. The receiving fax machines were operating at the time of service and the transmission was
                     properly completed.


1~        • :, orii;:1il.b,y,selric;tipg the individual{s) listed above as a service contact when preparing this electronfo:
 17        ·...• ffiiQ~)~~111Tssibn, thus causing /he individual(s) to be served by means of the court's electronic 'filing
                 system.                               I
 18
                                             this 6th day of May, 2024, in Paris, France.
 19

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                     By:
                     AR               , etitioner
                !.
                     ARNAUD PARIS
                     t3-;r'ue<i;ierdinand Duval
                     7i!;i.O,Jf('B&BIS;FRANCE
                     Teleptibne : +3368828 3641
    24               Email: aparis@sy smicfilms. cqm
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                      PROOF OF SERVCE - CERTIFICATE OF SERVICE
                      Page 1 of 1          Case No. l :24-cv-00648-AA
                             Case 1:24-cv-00648-AA                Document 13            Filed 05/06/24          Page 3 of 3

                                                                                ACP Investigations Inc. <acpinvestigations3@gmail;com>



1 :24-CV-00648-AA
ACP Investigations Inc. <acpin"9stigations3@gmail.com>                                                             Mon, May 6, 2024 at 1:11 PM
Tei: "heidimparis@gmail.com" <heidimparis@gmail.com>
• '""    .
  H!',idi:

  MY,M.rne is Jessica and I am with ACP Investigations and I am serving you your court documents via email. Attached
  you        •·j\l~i, {tta?,fSa~i,~~id ORDER, and yolur court documents:
             -·H)i:::Kr~;:-.::.;·:..: · •
             1                                                                                                                          •        .• , ,,_-
  Docs Attached:
  SUMMONS, CIVIL COVER SHEET, PETI ON FOR RETURN OF CHILDREN UNDER THE HAGUE CONVENTION ON
  THE CIVIL ASPECTS OF INTERNATIONAL CHILD ABDUCTION AND REQUEST FOR SHOW CAUSE ORDER (pgs 1-
  14), EXHIBIT 1- JUDGMENT rendu le 21 avril 2023 (pgs 1-25), EXHIBIT 2- JUDGMENT ISSUED AUGUST 25,
  2023 (pgs 1- 7), EXHIBIT 3- EMAIL, EXHIBIT 4 - REQUEST FOR THE RETURN OF ABDUCTED CHILDREN
,.PL:JRSUANT.TO THE HAGUE CONVENTION OF 25 OCTOBER 1980 (pgs 1-6), OPINION AND ORDER (pgs 1-3)


   \=h'~nk you for your business,
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   ;_; -,;; •-'.;Jessica-Morton~ ~ ~ PI-ID:85971


                          ACP
   Investigations
,·' .      .-- ·~- ....& Process Serving
 r--N6!'6 W Main/ PO Box 1624
         Medford OR 97501
   '•:::; (541) 772-3107
   ·https://www.acpinvestigationsinc.com/



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